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         In the United States Court of Federal Claims
                                  NOT FOR PUBLICATION
                                         No. 06-915L
                                   (Filed: October 7, 2011)

                                            )
                                            )
CHEYENNE RIVER SIOUX TRIBE,                 )
                                            )
                     Plaintiff,             )
                                            )
v.                                          )
                                            )
THE UNITED STATES,                          )
                                            )
                     Defendant.             )
                                            )
                                            )


                        ORDER DISMISSING CASE
               FOR LACK OF SUBJECT MATTER JURISDICTION

       The plaintiff, Cheyenne River Sioux Tribe (“Cheyenne River”), filed this suit in

the Court of Federal Claims (“CFC”) against the defendant (“the government”) on

December 28, 2006. See CFC Compl. More than a month earlier, the plaintiff filed a

companion case against the government for declaratory and injunctive relief in the United

States District Court for the District of Columbia, Cheyenne River Sioux Tribe v.

Kempthorne, No. 1:06-cv-01897-JR (D.D.C.), on November 7, 2006. See District

Compl. The plaintiff’s allegations in both cases relate to the trust accounting and trust

management duties and responsibilities allegedly owed by the government to the

plaintiff. See CFC Compl; District Compl; see also Joint Mot. To Stay (Feb. 20, 2007),

ECF No. 8. Pending before the court in this case is briefing on the question whether the
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plaintiff’s suit in the district court was “for or in respect to the same claim” over which

the plaintiff seeks relief in this court. For the reasons that follow, because the plaintiff’s

district court claim was “for or in respect to the same claim” as this CFC suit and pending

at the time this CFC suit was filed by the plaintiff, the court determines that under the

limit placed on the jurisdiction of the CFC by 28 U.S.C. § 1500 (“section 1500”) 1 it must

dismiss the plaintiff’s suit for lack of jurisdiction pursuant to Rule 12(h)(3) of the Rules

of the Unites States Court of Federal Claims (“RCFC”) (“If the court determines at any

time that it lacks subject-matter jurisdiction, the court must dismiss the action.”).

I.        PROCEDURAL HISTORY

          The plaintiff filed a case against the government for declaratory and injunctive

relief in federal district court on November 7, 2006, see District Compl., and more than a

month later filed this suit against the government seeking money damages on December

28, 2006, see CFC Compl. On February 22, 2007, following a joint motion of the parties,

the court stayed this case so the parties could pursue settlement discussions, renewing the

stay on eight occasions at the repeated joint request of the parties. See Orders Granting

Joint Mots. To Stay, ECF Nos. 9, 11, 20, 23, 28, 30, 32, 34, 36. While this case was

1
    That statute provides:

           The United States Court of Federal Claims shall not have jurisdiction of any
           claim for or in respect to which the plaintiff or his assignee has pending in any
           other court any suit or process against the United States or any person who, at
           the time when the cause of action alleged in such suit or process arose, was, in
           respect thereto, acting or professing to act, directly or indirectly under the
           authority of the United States.

28 U.S.C. § 1500.
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stayed, the Supreme Court entered its decision in United States v. Tohono O’Odham

Nation, 131 S.Ct. 1723 (2011), providing new guidance on the application of section

1500. The Supreme Court held:

       The CFC has no jurisdiction over a claim if the plaintiff has another suit for
       or in respect to that claim pending against the United States or its agents.
       ....
       . . . Two suits are for or in respect to the same claim, precluding jurisdiction
       in the CFC, if they are based on substantially the same operative facts,
       regardless of the relief sought in each suit.

Tohono, 131 S.Ct. at 1727, 1731. In light of this decision, on June 1, 2011, the court

issued an Order to Show Cause, requesting briefing on the question of whether, based on

the Supreme Court’s decision in Tohono, the court’s jurisdiction over this case was

barred at the time of filing by the earlier-filed and still pending case in district court and

the operation of section 1500. See Order to Show Cause, ECF No. 39. In its brief, the

plaintiff argues that its two complaints do not contain the same factual allegations and are

based on different operative facts, and therefore asserts that section 1500 does not bar its

CFC claim. See Pl.’s Suppl. Br., ECF No. 41. In its response the government argues that

the court should dismiss the plaintiff’s complaint for lack of subject matter jurisdiction

based on the application of section 1500, arguing that this court never possessed

jurisdiction over the plaintiff’s suit because the plaintiff’s district court complaint and

CFC complaint allege claims that are based on substantially the same operative facts.

See Def.’s Resp., ECF No. 42. Oral argument was heard on October 4, 2011.




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II.    DISCUSSION

       A.     Standard of Review

       All those seeking to invoke this court’s subject-matter jurisdiction ultimately

retain the burden of establishing that the jurisdictional requirements are met. Keener v.

United States, 551 F.3d 1358, 1361 (Fed. Cir. 2009) (citing Rocovich v. United States,

933 F.2d 991, 993 (Fed. Cir. 1991)); Alder Terrace, Inc. v. United States, 161 F.3d 1372,

1377 (Fed. Cir. 1998) (citing McNutt v. Gen. Motors, 298 U.S. 178, 189 (1936)).

Subject-matter jurisdiction may be challenged at any time by the parties or by the court

sua sponte. Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004); see also

RCFC 12(h)(3). In deciding whether there is subject-matter jurisdiction, “the allegations

stated in the complaint are taken as true and jurisdiction is decided on the face of the

pleadings.” Folden, 379 F.3d at 1354 (citation omitted). If the court determines that it

does not have jurisdiction, it must dismiss the claim. RCFC 12(h)(3); Arbaugh v. Y&H

Corp., 546 U.S. 500, 514 (2006) (“[W]hen a federal court concludes that it lacks subject-

matter jurisdiction, the court must dismiss the complaint in its entirety.”) (citation

omitted); Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998). See generally

John R. Sand & Gravel, Co. v. United States, 552 U.S. 130 (2008), aff’g 457 F.3d 1345

(Fed. Cir. 2006).

       B.     Based upon Recent Supreme Court Precedent, Jurisdiction Over the
              CFC Complaint Is Precluded Because of the Substantial Overlap in
              Operative Facts.



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              1.     The jurisdiction of the CFC under the Tucker Act and the
                     Indian Tucker Act is limited by 28 U.S.C. § 1500.

       This court has jurisdiction under the Indian Tucker Act, 28 U.S.C. § 1505, which

allows Native American tribes the right to bring suit in the Court of Federal Claims like

any other plaintiff. United States v. White Mountain Apache Tribe, 537 U.S. 465, 472

(2003) (“[T]he Indian Tucker Act[] confers a like waiver for Indian tribal claims that

‘otherwise would be cognizable in the Court of Federal Claims if the claimant were not

an Indian tribe’”) (quoting 28 U.S.C. § 1505). The Tucker Act establishes this court’s

jurisdiction over “any claim against the United States founded either upon the

Constitution, or any Act of Congress or any regulation of an executive department, or

upon any express or implied contract with the United States, or for liquidated or

unliquidated damages in cases not sounding in tort.” 28 U.S.C. § 1491(a)(1). Like the

general Tucker Act, the Indian Tucker Act does not confer any substantive rights upon a

plaintiff; a plaintiff must establish an independent substantive right to money damages

from the United States in order for the case to proceed. See generally United States v.

Mitchell, 463 U.S. 206 (1983). In Indian trust accounting cases, the substantive right

must be found in statutes from which a trust relationship can be inferred, and one which

can reasonably be construed to imply a money remedy for breach. Id. at 217-218.

However, any claim brought in this court is subject to the limitations of section 1500.

Section 1500 provides:

       The United States Court of Federal Claims shall not have jurisdiction of
       any claim for or in respect to which the plaintiff or his assignee has pending

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       in any other court any suit or process against the United States or any
       person who, at the time when the cause of action alleged in such suit or
       process arose, was, in respect thereto, acting or professing to act, directly or
       indirectly under the authority of the United States.

28 U.S.C. § 1500.

              2.      The Tohono decision clarified the test for identity of claims
                      under 28 U.S.C. § 1500.

       As noted above, the court’s issuance of the order to show cause and the

government’s argument for dismissal of the plaintiff’s complaint is based primarily on

Tohono, the recent Supreme Court case interpreting section 1500. The plaintiff in

Tohono filed a district court action against federal officials alleging a breach of fiduciary

duty with respect to the management of tribal assets held in trust by the government.

United States v. Tohono O’Odham Nation, 131 S.Ct. 1723, 1727 (2011). In its district

court case, the plaintiff sought equitable relief, including an accounting of trust property.

Id. The day after filing its complaint in district court, the plaintiff filed a complaint in the

Court of Federal Claims, alleging nearly identical breaches of fiduciary duties based upon

the same tribal assets and sources of fiduciary duty, but seeking money damages. Id.

The Court of Federal Claims dismissed the case based on section 1500, holding that

“Section 1500 divests this court of jurisdiction over plaintiff’s claim because it arises

from the same operative facts and seeks the same relief as the claim in district court.”

Tohono O’Odham Nation v. United States, 79 Fed. Cl. 645, 659 (2007). The Federal

Circuit reversed based on Circuit precedent, holding that section 1500 is only applicable

if two claims both “arise from the same operative facts” and “seek the same relief.”

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Tohono O’Odham Nation v. United States, 559 F.3d 1284, 1288 (Fed. Cir. 2009)

(quoting Loveladies Harbor, Inc. v. United States, 27 F.3d 1545, 1551 (Fed. Cir. 1994)

(en banc) (“For the Court of Federal Claims to be precluded from hearing a claim under

§1500, the claim pending in another court must arise from the same operative facts, and

must seek the same relief” (emphases in original))). The Circuit found that the relief

sought in the Court of Federal Claims action was different from that sought in the district

court, and thus section 1500 did not divest the Court of Federal Claims of jurisdiction

over the subject complaint.

       The Supreme Court reversed the Federal Circuit, holding that the relief sought in

two complaints is superfluous to the question of whether two suits are “for or in respect

to” the same claim within the meaning of section 1500. The Supreme Court in Tohono

explained that, regarding section 1500, “[t]he rule is more straightforward than its

complex wording suggests. The CFC has no jurisdiction over a claim if the plaintiff has

another suit for or in respect to that claim pending against the United States or its agents.”

Tohono, 131 S.Ct. at 1727. The Court went on to state that “[t]wo suits are for or in

respect to the same claim, precluding jurisdiction in the CFC, if they are based on

substantially the same operative facts, regardless of the relief sought in each suit.” Id. at

1731 (emphasis added). The Court held that the statute’s use of the phrase “in respect to”

“does not resolve all doubt as to the scope of the jurisdictional bar, but ‘it does make it

clear that Congress did not intend the statute to be rendered useless by a narrow concept

of identity.’” Id. at 1728 (quoting Keene Corp. v. United States, 508 U.S. 200, 213

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(1993)). “It suggests a broad prohibition, regardless of whether ‘claim’ carries a special

or limited meaning.” 2 Id. The Court concluded, as the Court of Federal Claims had, that

the plaintiff’s two suits had “substantial overlap in operative facts” based upon the

identity of the trust assets at issue and the alleged breaches of fiduciary duty, and noted,

“Indeed, it appears that the Nation could have filed two identical complaints, save the

caption and prayer for relief, without changing either suit in any significant respect.” Id.

at 1731. Thus, the Court held, the Court of Federal Claims possessed no jurisdiction over

the claim until the district court case was either dismissed or “complet[e]” and that after

that time, the plaintiff would be “free to file suit again in the CFC if the statute of

limitations is no bar.” Id.

                3.      The district court complaint and the CFC complaint share the
                        same operative facts.

        In this case, the plaintiff contends that, unlike the plaintiff in Tohono, it has not

filed virtually identical complaints and argues that the two complaints do not contain the


2
  The Court noted that any hardship its ruling would cause the Tohono O’Odham Nation was “far
from clear” because although the plaintiff’s CFC case would have to be dismissed, an Indian
tribe in the plaintiff’s position could always bring a suit in the Court of Federal Claims after
resolution of the district court case because the statute of limitations on Indian trust
mismanagement claims would only begin to run once the government provided an appropriate
accounting. Tohono, 131 S.Ct. at 1731. Regardless, the Court held:

         Even were some hardship to be shown, considerations of policy divorced from
         the statute’s text and purpose could not override its meaning. Although
         Congress has permitted claims against the United States for monetary relief in
         the CFC, that relief is available by grace and not by right. . . . If indeed the
         statute leads to incomplete relief, and if plaintiffs like the Nation are
         dissatisfied, they are free to direct their complaints to Congress.

Id. (internal citations omitted).
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same factual allegations and are based on different operative facts. The plaintiff argues

that the operative facts of each case are confined to the trust duties at issue in each case

and that the proof necessary to prevail in the two cases are entirely different. For the

district court action the plaintiff contends the operative facts “concern the government’s

conduct in providing an accounting, as well as the nature, scope, accuracy and

completeness of the accounting,” whereas for the CFC action the operative facts “identify

the source and nature of defendant’s fiduciary obligations to manage tribal monetary and

non-monetary trust assets” and “do not involve the evaluation of any accounting.” Pl.’s

Suppl. Br. 5-6. The plaintiff also contends that the court should construe any overlapping

facts as merely background facts that are not material to the proof of the plaintiff’s claims

and therefore are not operative. See id. at 5-7. Moreover, the plaintiff contends the

evidence that would be presented during the trial of the two cases will look very different,

with the trial in district court “dominated by accounting issues” and the trial in the CFC

“dominated by evidence relating to the handling of specific trust transactions and assets.”

Id. at 6.

        In response, the government contends both the district court complaint and the

CFC complaint allege claims that are based on substantially the same operative facts, and

thus this court should dismiss this case for lack of subject-matter jurisdiction.

Specifically, the government argues, “the two complaints use essentially identical factual

allegations to assert that the United States, as trustee, breached fiduciary duties owed to

Plaintiff by allegedly failing to account properly for and to manage properly Plaintiff’s

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trust funds and assets.” Def.’s Resp. 5 (comparing District Compl. ¶¶ 16, 18-20, 26 with

CFC Compl. ¶¶ 25, 27, 28, 40). Further, the government argues that the plaintiff’s

contentions regarding the distinction between background and operative facts in this case

as well as the plaintiff’s anticipated production of different evidence at the two potential

trials are meritless, where, as here, the plaintiff “recognizes that the accounting that it

seeks in its District Court Complaint involves the same operative facts at issue in its CFC

Complaint and that the trust property at issue is the same for both cases.” Def.’s Resp. 12

(citing CFC Compl. ¶ 28 (“To date, the Defendant has failed to provide that accounting

or other sufficient information which would otherwise afford the Plaintiff the ability to

determine whether, and to what extent, it has suffered a loss as a result of the Defendant’s

continual wrongdoing or other breaches of trust.”)).

         The court finds that the government has the prevailing argument. As explained

below, an examination of the district court complaint and CFC complaint reveals that at

the time the CFC action was filed, the claims in each case arose from substantially the

same operative facts. Indeed, contrary to the plaintiff’s contentions, the side-by-side

table set forth below demonstrates that the two complaints are virtually the same as the

complaints at issue in Tohono. 3


3
    The Supreme Court explained the substantial overlap in operative facts in Tohono as follows:

         The two actions both allege that the United States holds the same assets in trust
         for the Nation’s benefit. They describe almost identical breaches of fiduciary
         duty—that the United States engaged in self-dealing and imprudent investment,
         and failed to provide an accurate accounting of the assets held in trust, for
         example. Indeed, it appears that the Nation could have filed two identical
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            Excerpts from CFC Complaint                                   Excerpts from District Court Complaint

Parties                                                         Parties

Plaintiff “[t]he Cheyenne River Sioux tribe is the              “Plaintiff is a federally recognized Indian tribe,
successor in interest to four historic bands of the Teton       recognized by the United States a sovereign Indian tribe
branch of the Great Sioux Nation . . . . an                     with legal rights and responsibilities . . . . which is
unincorporated, federally recognized Indian tribe, having       eligible for the special programs and services provided
accepted the provisions of the Act of June 18, 1934, . . .      by the United States to Indians because of their status as
25 U.S.C. Section 461 et seq. . . . eligible for the special    Indians, and because of the Plaintiff’s treaties and other
programs and services provide[d] by the United States to        agreements with the United States.” District Compl. ¶ 2.
Indians because of their status as Indians, and because of
the Treaties and agreements with the United States,             Defendants are office holders charged by law with
various Acts of Congress, and federal common law.”              carrying out the duties and responsibilities of the United
CFC Compl. ¶ 2.                                                 States as trustee for the Plaintiff, administering the
                                                                Plaintiff’s trust funds, and preparing and maintaining
Defendant is the United States of America. See id. ¶ 3.         records in connection with those funds. See Id. ¶¶ 3-5.


Funds/Assets                                                    Funds/Assets

“Plaintiff resides on the Cheyenne River Indian                 “Plaintiff resides within an Indian Reservation
Reservation. The Plaintiff remains the successor in             established by the United States. The Plaintiff is a party
interest to the signatories of certain Indian treaties with     to, and/or the successor in interest to, the signatories of
the United States. . . . Plaintiff is the beneficial owner of   certain Indian treaties with the United States and it is the
certain monies . . . . certain land, and other trust assets,    beneficial owner of certain monies . . . held in trust for
title to which is held in trust by the United States for the    the Plaintiff by the United States, as well as of certain
benefit of the Plaintiff. Many of these lands are valuable      land and other trust assets, title to which is held in trust
for grazing, agricultural and recreational uses. The            by the United States for the benefit of the Tribe. The
Plaintiff’s trust assets also include natural resources . .     Plaintiff is also the owner of the natural resources
.water, timber, gravel, and a variety of mineral reserves.      located on their land held in trust . . . including . . .
Plaintiff also holds off-reservation lands, assets and          water, timber, and a variety of mineral reserves. The
usufructuary rights held in trust by the Defendant.” Id. ¶      Plaintiff’s trust holdings also include land which is
16.                                                             valuable for grazing, agricultural, and recreational use,
                                                                and for other purposes.” Id. ¶ 8.

“Defendant has approved leases, easements, rights-of-           Defendant has “approved, among others: (A) agreements
way and other conveyances and uses of the property and          for the use and extraction of natural resources which are
the resources located therein . . . [as well as] various        or were located on the Plaintiff’s trust property, (B)
third party uses and taking of said land and resources. In      leases of the Plaintiff’s trust lands, (C) easements across
so doing, the Defendant assumed responsibility for the          Plaintiff’s trust land, (D) grazing permits on the
collection, deposit and investment of the income                Plaintiff’s trust land, and (E) other grants, to third

          complaints, save the caption and prayer for relief, without changing either suit in
          any significant respect.

Tohono, 131 S.Ct. at 1731 (“The CFC dismissed the action here in part because it concluded that
the facts in the Nation’s two suits were, ‘for all practical purposes, identical.’ [Tohono,] 79 Fed.
Cl. [at] 656[]. It was correct to do so.”); see also Tohono, 79 Fed. Cl. at 648-51 (comparing
complaints in side-by-side tables).
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generated or which should have been generated by such           parties, of the authority to use certain of the Plaintiff’s
conveyances and use rights.” Id. ¶ 20.                          trust lands and natural resources for specific purposes. .
                                                                . . [and] in certain limited instances, conveyed title . . . to
“The 1825 Treaty, 7 Stat 252, and subsequent Treaties           third parties and . . . approved the use of certain of the
with the Cheyenne River Sioux Bands . . . provided for          Plaintiff’s trust lands for Federal purposes. By granting
the payment of monies . . . . [and] the creation of trust       these rights, the Defendant . . . assumed the legal
fund accounts in the United States Treasury.” Id. ¶ 8.          responsibility for the collection of fair and equitable
                                                                compensation for those conveyances or uses including,
                                                                but not limited to: royalty payments, grazing fees, rents,
                                                                purchase prices, and such other fees and payments as are
                                                                or were appropriate.” Id. ¶ 12.


Trust Obligations                                               Trust Obligations

“Under the terms of its treaties, and under other               “Under the terms of its treaties, and under other
applicable law, tribal land and associated resources held       applicable law, tribal land held in trust and the tribal
in trust are inalienable except as authorized by Congress,      resources located on those trust lands are inalienable
or by the terms and conditions of the Plaintiff’s treaties      except as authorized by Congress, or by the terms and
with the United States and the Plaintiff’s federally            conditions of the Plaintiff’s treaties with the United
approved organic documents including the Constitution,          States. 25 U.S.C. [§] 177. Congress has granted the
and By Laws of the Cheyenne River Sioux Tribe. By               Secretary of the Interior the authority to approve
statute Congress has granted the Secretary of the Interior      conveyances of certain interests in the Plaintiff’s trust
the authority to approve certain limited conveyances of         lands and trust resources, including but not limited to:
certain interests in the Plaintiff’s trust lands and trust      leases, easements, rights of way, resource harvesting and
resources, including but not limited to: leases,                resource use agreements. . . . Federal law also generally
easements, rights of way, resource harvesting and               requires that compensation be paid to the Plaintiff for the
resource use agreements. . . . Federal law and regulations      conveyance and the use of tribal lands and tribal trust
also generally require that compensation be paid to the         resources.” Id. ¶ 9.
Plaintiff for the conveyance and/or use of its trust lands
and trust resources.” Id. ¶ 17.

“Because the United States holds the Plaintiff’s lands,         “Because the United States holds the Plaintiff’s trust
resources and the proceeds generated by and from the            lands, trust resources and the proceeds generated by or
use, sale, or taking of said resources in trust, it has         from the use, sale, or taking of said resources in trust, it
assumed the obligations of a trustee. . . . As trustee, the     has assumed the obligations of a trustee. . . . As trustee,
United States has a fiduciary duty to the Plaintiff to          the United States has a fiduciary relationship with the
administer the trust with the greatest skill and care           Plaintiff and an obligation to administer the trust with
possessed by a trustee. . . . This includes a duty to insure    the greatest skill and care possessed by the trustee.” Id.
that the tribal trust property, funds and assets are            ¶14.
protected, preserved and managed in full compliance
with the Defendant’s trust duties and applicable law” Id.       “The trust obligation of the United States includes,
¶ 21.                                                           among other duties, the duty to ensure that tribal trust
                                                                property and trust funds are protected, preserved and
“Defendant has and continues to undertake the                   managed so as to produce the highest and best use and
responsibilities to account for, manage, and otherwise          return to the tribal owner consistent with the trust
act as a fiduciary trustee on behalf of the Plaintiff.” Id. ¶   character of the property. Said duty requires the United
26.                                                             States to further insure that the Plaintiff is afforded its
                                                                full rights to compensation.” Id. ¶ 15.
“Article 8 of the [Act of February 28, 1877] both
acknowledged and reaffirmed the United States’ trust            “Defendants have assumed the responsibility for the
responsibility to protect the rights and property of the        investment of the corpus of the trust, including trust
Cheyenne River Bands and the Supreme Court of the               assets, the income that was and is being generated by the
United States has clarified that they are the wards of the      Plaintiff’s trust lands, and trust resources and by the
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United States.” Id. ¶ 12.                                         other trust monies paid to the Plaintiff.” Id. ¶ 13.

“Congress authorized the Secretary of the Interior to             “Congress has charged the Defendants with fulfilling the
collect income from tribal trust property and to deposit          obligations of the United States as trustee and with the
such income . . . for the benefit of the Plaintiff . . . .        responsibility for the administration and management of
[and] directed that interest be paid on tribal trust funds,       all trust property of the Plaintiff in compliance with the
and that such trust funds be invested. . . . [T]he United         Constitution . . .” Id. ¶ 17.
States assumed duties . . . to properly manage the
Plaintiff’s trust assets, monies and property for the             “[T]he United States took possession of certain of the
highest and best use of the Plaintiff.” Id. ¶ 18.                 Plaintiff’s lands and other valuable resources. When the
                                                                  United States took possession of those items it obligated
“Congress . . . has consistently required the United              itself to provide specific consideration to the Plaintiff. . .
States to increase the productivity of funds that it holds        . [C]onsideration often took the form of money and/or
in trust for Indian Tribes.” Id. ¶ 19.                            goods and services which were to be provided by the
                                                                  United States to the Plaintiff . . . [and] managed by the
“The Court of Federal Claims has . . . consistently held          United States until that consideration was delivered.” Id.
the United States responsible for investing Indian trust          ¶ 11.
funds in the highest yielding investment vehicles
available to the funds in question” Id. ¶ 22.

“The trust obligation of the United States includes . . .
the duty to insure that tribal trust property and trust
funds are protected, preserved and managed so as to
insure the highest and best use of those assets and funds,
. . . the highest revenue to the tribal owner consistent
with the trust character of the property . . . . [and] to
further insure that the Plaintiff is afforded its full rights
to compensation for any taking of trust assets.” Id. ¶ 23.

“The Defendant . . . also has responsibility to:                  “The trust obligations of the United States also include .
    A. Provide adequate systems for accounting for                . . the duty to:
        and reporting trust fund balances;                                  (A) collect trust funds rightfully owed to the
    B. Provide adequate controls over receipts and                               Plaintiff;
        disbursements;                                                      (B) create trust accounts to hold those funds[;]
    C. Provide periodic and timely reconciliations to                       (C) insure that the monies owed or paid for the
        insure the accuracy of accounts;                                         loss or use of tribal lands and trust
    D. Determine accurate cash balances;                                         resources are placed into those accounts,
    E. Prepare and supply account holders with                              (D) maintain adequate records with respect to
        periodic statements of their account                                     the Plaintiff’s trust property,
        performance and with balances of their account                      (E) maintain adequate systems and controls to
        to be available on a daily basis;                                        guard against errors or dishonesty;
    F. Establish consistent written policies and                            (F) provide regular and accurate accountings
        procedures for trust fund management and                                 to the Plaintiff as the trust beneficiary;
        accounting;                                                         (G) refrain from self-dealing or benefiting from
    G. Provide adequate staffing, supervision and                                the management of the trust property;
        training for trust funds management and                             (H) insure the Federal Government’s
        accounting; and                                                          compliance with the protections afforded
    H. Appropriately manage the natural resources                                the Plaintiff under the Constitution of the
        located within the boundaries of Indian                                  United States and other applicable law and
        reservations and trust lands.” Id. ¶ 24.                            (I) to consult with the Plaintiff regarding the
                                                                                 management of its trust property.” Id. ¶ 16.


“Trust obligations of the United States include . . . the         “By the Act of December 22, 1987 . . . Congress
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duty to:                                                      imposed two requirements on the Defendants: (1) that
    (a) exercise opportunities to obtain monetary             they audit and reconcile tribal trust funds, and (2) that
         benefits from Plaintiff’s trust land and             they provide the tribes with an accounting of such
         resources,                                           funds.” Id. ¶ 22.
    (b) enter into reasonable contracts to advance those
         opportunities
    (c) timely collect the trust funds rightly owed to
         the Plaintiff,
    (d) timely create trust accounts to hold those funds,
    (e) insure that the monies owed or paid for the loss
         or use of trust lands and resources are placed in
         those accounts in a timely manner,
    (f) maintain adequate records with respect to the
         Plaintiff’s trust property,
    (g) maintain adequate systems and controls to
         guard against errors or dishonesty,
    (h) provide regular and accurate accountings to the
         Plaintiff as the trust beneficiary,
    (i) refrain from self-dealing or benefiting from the
         management of the trust property,
    (j) insure the Federal Government’s compliance
         with the protections afforded the Plaintiff under
         the Constitution . . . and other applicable law,
         and
    (k) consult with the Plaintiff regarding the
         management of its trust property and the
         implementation of the Government’s treaty
         obligations.” Id. ¶ 25.


Breaches of Trust                                             Breaches of Trust

“The Defendant fraudulently concealed the operative           “Defendants have never rendered a full, accurate or
facts concerning the existence of the causes of action,       timely audit or accounting to the Plaintiff of its trust
claims and other instances of mismanagement of trust          assets, or provided the Plaintiff with a clear statement as
property, assets and monies, so as to prevent the Plaintiff   to the origin or use of all of the funds in each of those
from fully prosecuting or pursuing its rights to a full and   accounts. . . . Defendants have kept and continue to keep
complete accounting and other claims arising out of the       the Plaintiff, who is the trust beneficiary, uninformed as
Defendant’s failures as alleged herein, including, but not    to: (A) the trust property, trust funds and trust resources
limited to the mismanagement of trust properties, assets,     it owns or owned, (B) the income and interest that the
monies and other damages. In furtherance of their             Plaintiff’s currently owned and previously owned trust
fraudulent concealment and deception, the Defendant . .       property, resources and funds have produced, and (C)
. create[d] the false appearance of a complete and            what disposition – if any – has been made of that
meaningful accounting or reconciliation of funds or           income; and (D) whether the United States has properly
monies otherwise due Plaintiff and continuously . . .         managed the Plaintiff’s trust assets.” Id. ¶ 18.
have continued to conceal the facts which would support
Plaintiff’s claims, so as to delay the accrual of any cause   “[M]ismanagement . . . has resulted in losses to the
of action otherwise arising out of the mismanagement of       Plaintiff, a trust beneficiary. However, the extent of the
Plaintiff’s properties, land and other trust assets.          losses is unknown to the Plaintiff at this time because
Defendant has continued, up to and including the present      the Defendants have:
time, to fail to render any bonafide reconciliation and                 (A) failed to provide the Plaintiff with a full
accounting despite being legally obligated to provide                         and complete accounting of the source of
such under applicable law . . . .” Id. ¶¶ 38-40.                              its trust funds,
                                                                        (B) failed to provide Plaintiff with accurate
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“The Defendant’s continuing widespread and well-                               accounting of the amount contained in each
documented Indian trust fund mismanagement, and other                          of its accounts . . . ,
breaches of trust have affected . . . the Plaintiff’s trust              (C)   failed to provide the Plaintiff with a
assets and have caused . . . monetary losses to the                            comprehensive statement of the use and
Plaintiff.” Id. ¶ 27.                                                          investment of its trust funds . . . ,
                                                                         (D)   failed to maintain accurate books and
“Defendant has failed to keep records of and/ or has                           records of the Plaintiff’s account,
failed to keep proper records regarding the Plaintiff’s                  (E)   lost and destroyed relevant trust account
trust accounts and assets . . . . Defendant has never                          records,
provided the Plaintiff with a full and meaningful                        (F)   failed or refused to disclose known losses,
accounting of its trust assets and trust funds. Indeed                         or unmade or incomplete payments to the
before filing this action, the Plaintiff filed a complaint in                  Plaintiff . . . ,
the United States District Court for the District of                     (G)   failed or refused to reimburse trust
Columbia demanding a full accounting of its trust                              beneficiaries for losses to their trust funds,
accounts, trust assets and trust property.” Id. ¶ 28.                          and
                                                                         (H)   failed to properly create certain trust
“The Defendant has failed to obtain and continues to fail                      accounts and deposit the appropriate
to obtain the maximum investment return possible . . . on                      monies in those accounts.” Id. ¶ 21.
the Plaintiff’s trust funds. This breach of fiduciary duty
has caused and continues to cause monetary loss to the          “Defendants have continued to fail to implement the
Plaintiff.” Id. ¶ 29.                                           reforms required by law and have hampered the Special
                                                                Trustee for American Indians in his efforts to perform
“Congress . . . [undertook] an investigation into               his legal obligations.” Id. ¶ 25.
Defendant’s management and oversight over tribal trust
accounts . . . . [and] has recognized the gross breaches of     “To date, the Defendants have failed to provide the
trust described herein.” Id. ¶ 30.                              Plaintiff with a full, accurate and timely accounting of
                                                                its trust funds and have failed to meet their other
“Defendant has breached its fiduciary duty . . . through        statutory and legal obligation to the Plaintiff leaving
its conduct and omissions stated as follows:                    them in clear breach of their trust responsibility.” Id. ¶
     A. . . . by failing to obtain the highest available        26.
         rates of interest and earnings on the Plaintiff’s
         trust funds . . . .                                    “The Plaintiff is entitled to declaratory and mandatory
     B. . . . by failing to deposit the Plaintiff’s trust       injunctive relief compelling the Defendants to manage
         monies in interest bearing accounts in a timely        the Plaintiff’s current and future trust funds and trust
         manner.                                                assets in full compliance with all applicable law and
     C. . . . by failing to properly invest the Plaintiff[’]s   with their duties as the Plaintiff’s guardian and trustee.”
         trust monies in a timely manner.                       Id. ¶ 36
     D. . . . by prematurely withdrawing the Plaintiff’s
         trust funds from interest generating accounts.         “The Tribe may have claims to damages that cannot be
     E. . . . by entering into or authorizing below             ascertained until after the Defendants make a
         market value contracts, leases, permits, rights-       reconciliation and accounting of the Tribe’s trust
         of-way and other similar arrangements dealing          property and accounts. Some of these claims, should
         with Plaintiff’s real property and natural             they exist, will have to be filed in the United States
         resources.                                             Court of Federal Claims.” Id. ¶ 38.
     F. . . . by generally failing to obtain the highest
         and best price for the use and taking of               “WHEREFORE, the Plaintiff prays:
         Plaintiff’s trust assets.                              ...
     G. . . . by failing to charge, or collect rents,           4. For a judicial order preserving any claims that the
         royalties or other proceeds on leases, permits,        Plaintiff might uncover once it receives that accounting.
         rights-of-way . . . and/or by failing to collect       5. For an order directing the Defendants to manage all
         and deposit those monies in interest bearing           of the Plaintiff’s current and future trust funds,
         accounts in a timely manner.                           properties and resources in full compliance with all
     H. . . . by allowing third parties to use, remove,         applicable law and with their duties as the Plaintiff’s
         encumber, waste, damage, spoil and otherwise           guardian and trustee.” Id. at 13 ¶¶ 4-5 (Prayer for
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     take possession of the Plaintiff’s trust assets         Relief).
     without consultation with the Plaintiff and/or
     without adequate compensation.
I.   . . . by allowing churches, schools, government
     agencies and other third parties to have the use
     and benefit of Plaintiff[’]s trust properties
     without adequate compensation.
J.   . . . by allowing third parties to cause damage to
     the Plaintiff’s trust properties and natural
     resources without paying compensation . . . .
K.   . . . by failing to enforce the reverter clause
     contained in various federal statutes and in
     various deeds and use agreements dealing with
     the Plaintiff’s real property . . . .
L.   . . . .by failing to properly invest and manage
     the Plaintiff’s judgment funds, congressionally
     appropriated funds and other trust monies in a
     timely manner and in a manner which obtains
     the maximum investment return possible. . . .
M.   . . . by failing to administer and manage the
     Plaintiff’s trust lands, funds and property with
     the greatest skill and care required of a trustee.
N.   . . . by failing to exercise opportunities which
     would have maximized the productive use of
     the Plaintiff’s land and resources and the
     income derived there from.
O.   . . . by failing to provide the consideration it
     agreed to provide . . . in and pursuant to
     treaties, statutes, appropriations, contracts and
     other agreements involving the Plaintiff.
P.   . . . by conveying or allowing the conveyance
     of the Plaintiff’s trust assets to third parties
     without adequate compensation and
     protections.
Q.   . . . by engaging in self dealing and/or by
     converting the Plaintiff’s trust assets to its own
     use without adequate compensation.
R.   . . . by failing to adhere to the requirements of
     25 U.S.C. §162d.
S.   . . . by failing to pay the Plaintiff the interest or
     compound interest on certain liquidated
     amounts and judgments. . . .
T.   . . . by failing to charge, enforce and collect late
     penalties, breach of contract penalties, trespass
     damages and penalties, insurance payments,
     certain cost share and other payment
     obligations, condemnation awards, delinquent
     rent payments, damage claims and other similar
     damages and interest thereon.
U.   . . . by failing to require lessors and other users
     of trust assets to procure bonds, insurance or
     surety arrangements to protect the rights of the
     Plaintiff and to collect from those sureties
     damages owed to the Plaintiff.” Id. ¶ 42.
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       The Supreme Court in Tohono did not provide a definition of “operative facts” for

purposes of section 1500. See Central Pines Land Co. v. United States, No. 98-314L,

2011 WL 3913099, at *7, *7 n.4 (citing Black’s Law Dictionary 670 (9th ed.) (defining

“operative fact” as “A fact that constitutes the transaction or event on which a claim or

defense is based.”)). “However, courts have held that the facts alleged in two complaints

need not be identical for section 1500 to apply; rather, the two complaints must stem

from the same events.” Id. at *7 (citing Griffin v. United States, 590 F.3d 1291, 1294

(Fed. Cir. 2009) (finding that the same operative facts were present in two suits because

the plaintiff’s “injury for both claims stem[med] from the same single event”); Trusted

Integration, Inc. v. United States, 93 Fed. Cl. 94, 100-103 (2010)). The Supreme Court

has also explained in Keene that a broad conception of the identity of facts is necessary to

give meaning to section 1500:

       The decision in British American Tobacco [Co. v. United States, 89 Ct. Cl.
       438 (1939),] strikes us, moreover, as a sensible reading of the statute, for it
       honors Congress’s decision to limit Court of Federal Claims jurisdiction not
       only as to claims “for . . . which” the plaintiff has sued in another court, but
       as to those “in respect to which” he has sued elsewhere as well. While the
       latter language does not set the limits of claim identity with any precision, it
       does make it clear that Congress did not intend the statute to be rendered
       useless by a narrow concept of identity providing a correspondingly liberal
       opportunity to maintain two suits arising from the same factual foundation.

Keene, 508 U.S. at 213. Thus, the fact that certain facts may be needed to meet elements

of proof of a legal theory articulated in one complaint but not the other does not prevent a




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finding that two complaints constitute the same claim for purposes of section 1500.

Trusted Integration, 93 Fed. Cl. at 102. As the Federal Circuit has explained:

       [E]lements of proof are only relevant once a legal theory has been chosen.
       As previously discussed, the term “claim” in section 1500 “has no reference
       to the legal theory upon which a claimant seeks to enforce his demand . . .
       .” Since the legal theory is not relevant, neither are the elements of proof
       necessary to present a prima facie case under that theory.

Johns-Manville Corp. v. United States, 855 F.2d 1556, 1564 (Fed. Cir. 1988) (internal

citation omitted).

       This court has also previously held in Ak-Chin Indian Community v. United

States, 80 Fed. Cl. 305 (2008) that attempts to distinguish the government’s trust duties in

each complaint are unavailing, where “the operative facts, those facts upon which

plaintiff’s allegations of breaches of the government’s trust responsibility are based, are

the same in both the Court of Federal Claims complaint and the District Court

complaint.” Id. at 319. The court explained the substantial overlap in operative facts in

Ak-Chin as follows:

       In each action, the courts must consider the government’s management and
       administration of plaintiff’s trust. The court will be required to review the
       government’s alleged failure to maintain records and account for plaintiff’s
       trust property by considering any existing records related to the
       government’s collection, handling, and investment of the Community’s
       trust funds and property. The nature of Indian trust cases and the
       government’s trust responsibility owed to Indian tribes does not lend itself
       to a simple delineation or separation of operative facts as they pertain to the
       government’s various duties owed to Indian tribes. It is not apparent to the
       court how it could address facts related to the government’s duty to invest
       and deposit plaintiff’s trust funds without considering the facts related to
       the government’s overall trust obligations owed to plaintiff, including its
       duty to account. It is simply not the case that there are two different and

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       separate sets of trust duties described in plaintiff’s District Court complaint
       and its Court of Federal Claims complaint. Therefore, the court finds that
       plaintiff’s Court of Federal Claims complaint and District Court complaint
       contain the same operative facts for purposes of the § 1500 jurisdictional
       bar.

Id. at 319-20 (emphasis added). Again, in Red Cliff Band of Lake Superior Chippewa

Indians v. United States, No. 06-923L, slip op. (Fed. Cl. Sept. 19, 2011), the court

rejected these same arguments and dismissed the plaintiff’s later-filed claim in this court

pursuant to section 1500 as follows:

       The issue that plaintiff seeks to litigate here is the government’s alleged
       failure to have managed trust assets in the manner required of a competent
       trustee. This case, in other words, focuses on what the government, as
       trustee, should have done. But that contention cannot be successfully
       established without at the same time demonstrating what the government
       actually did (or failed to do). Of necessity then, plaintiff’s proof in this
       court must revisit the same facts that make up the substance of its district
       court case. Indeed, this very point is explicitly recognized in plaintiff’s
       district court complaint where it states as follows: “The Tribe may have
       claims to damages that cannot be ascertained until after the Defendants
       make a reconciliation and accounting of the Tribe’s trust property and
       accounts. Some of these claims, should they exist, will have to be filed in
       the United States Court of Federal Claims.”[4] The necessity for an
       accounting as a prelude to a suit for damages in this court that is recognized
       in the quoted text means, in simple terms, that a case here is dependent
       upon what the accounting data shows [or does not show]. And given this
       acknowledged evidentiary overlap, it is simply not correct to assert that the
       two actions . . . turn on different operative facts.

Id. at 2-3.

       Tested by these standards, it is clear that the plaintiff’s district court complaint and

the complaint in this court constitute the same claim for purposes of section 1500. As in


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 Cheyenne River has also made this statement in its district court complaint. See District
Compl. at ¶ 38.
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Tohono, the operative facts alleged in the two complaints substantially overlap and in

certain instances are nearly identical. See Tohono, 131 S.Ct. at 1731 (“Two suits are for

or in respect to the same claim, precluding jurisdiction in the CFC, if they are based on

substantially the same operative facts, regardless of the relief sought in each suit.”); see

also Yankton Sioux Tribe v. United States, No. 2009-5027, 2011 WL 3873846, at *1

(Fed. Cir. Sept. 2, 2011) (“[T]he Court of Federal Claims lacks jurisdiction if a suit based

on substantially the same operative facts is pending in a district court regardless of

whether the complaints seek overlapping relief.”), aff’g Yankton Sioux Tribe v. United

States, 84 Fed. Cl. 225 (2008).

       Both complaints allege that the government failed to act as a prudent investor and

otherwise mismanaged the plaintiff’s trust funds and property. Both complaints allege

the government breached its duties to account, keep adequate records, refrain from self-

dealing, preserve trust assets, and invest prudently to maximize returns. Both complaints

allege these breaches as to the same trust corpus, including tribal lands, natural resources,

grazing rights, mineral rights, rights in property, and trust funds. In analyzing these

allegations, this court and the district court will have to consider the government’s

management and administration of the plaintiff’s trust corpus, including reviewing the

existing records related to the government’s alleged failures in properly collecting,

handling, and investing the plaintiff’s trust funds and property in both cases. Moreover,

despite its contentions that the district court action will be dominated by accounting

issues, the plaintiff also seeks in that action declaratory and mandatory injunctive relief

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compelling the government to manage the plaintiff’s current and future trust funds and

trust assets in “full compliance with all applicable law and with their duties as the

plaintiff’s guardian and trustee.” Am. District Compl. at ¶ 36. As with previous actions

before the court, here it is “not apparent to the court how it could address facts related to

the government’s duty to invest and deposit plaintiff’s trust funds without considering the

facts related to the government’s overall trust obligations owed to plaintiff, including its

duty to account.” Red Cliff Band of Lake Superior Chippewa Indians, No. 06-923L, slip

op. at 3 (quoting Ak-Chin Indian Community, 80 Fed. Cl. at 319).

       For these reasons, the court finds that the district court suit and CFC suit are

indeed “for or in respect to” the same claim because of the substantial overlap of

operative facts. See 28 U.S.C. § 1500; Tohono, 131 S.Ct. at 1731. Thus, section 1500

precludes this court from exercising jurisdiction over the plaintiff’s CFC complaint

because, at the time the complaint was filed, the same claim was pending in the District

Court for the District of Columbia.

III.   CONCLUSION

       For the above-stated reasons, the court must DISMISS the Cheyenne River Sioux

Tribe’s complaint for lack of subject-matter jurisdiction pursuant to 28 U.S.C. § 1500.

The Clerk is directed to enter judgment accordingly. Each party to bear its own costs.

IT IS SO ORDERED.

                                                          s/Nancy B. Firestone
                                                          NANCY B. FIRESTONE
                                                          Judge

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